        Case:15-16240-MER Doc#:17 Filed:09/16/15                              Entered:09/16/15 22:39:06 Page1 of 5
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 15-16240-MER
Christopher Lee Watts                                                                                      Chapter 7
Shanann Cathryn Watts
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: admin                        Page 1 of 2                          Date Rcvd: Sep 14, 2015
                                      Form ID: 177                       Total Noticed: 24


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 16, 2015.
db/db          +Christopher Lee Watts,    Shanann Cathryn Watts,    2825 Saratoga Trail,
                 Frederick, CO 80516-2600
16724335      ++CHOICE RECOVERY INC,    1550 OLD HENDERSON ROAD,    STE 100,    COLUMBUS OH 43220-3662
               (address filed with court: Choice Recovery,      PO Box 20790,    Columbus, OH 43220)
16724333        Capital One - Furniture Row,    P.O. Box 30257,    Salt Lake City, UT 84130-0257
16724334        Chase Home Finance,    3415 Vison Drive,   Columbus, OH 43219-6009
16724337        FedLoan Servicing,   Attn Correspondence,     PO Box 69184,     Harrisburg, PA 17106-9184
16724339        Ford Motor Credit Omaha Service Center,    PO Box 542000,     Omaha, NE 68154-8000
16724340       +Home Depot,   PO Box 790328,    Saint Louis, MO 63179-0328
16724341        Kaiser Permanente,   PO Box 711603,    Denver, CO 80271-1603
16724342       +Macy’s - Bankruptcy Department,    PO Box 8053,    Mason, OH 45040-8053
16724344       +SallieMae Servicing,    P.O. Box 3229,   Wilmington, DE 19804-0229
16724346       +Sharonview Federal Credit Union,    Credit Card Center,    PO Box 182477,
                 Columbus, OH 43218-2477
16724347        Stern Recovery Services,    415 North Edgeworth Street,    Greensboro, NC 27401-2182
16724350       +Wells Fargo - American Furniture,    PO Box 14517,    Des Moines, IA 50306-3517

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QDAHEPNER.COM Sep 14 2015 23:58:00       Daniel A. Hepner,    1660 Lincoln St.,   Ste. 2200,
                 Denver, CO 80264-2202
16724330        E-mail/Text: bankruptcy@bbandt.com Sep 15 2015 00:02:59       BB&T,    PO Box 698,
                 Wilson, NC 27894-0698
16724331        EDI: RMSC.COM Sep 14 2015 23:58:00      Belk,    PO Box 530940,    Atlanta, GA 30353-0940
16724332        EDI: CAPITALONE.COM Sep 14 2015 23:58:00       Capital One,   P.O. Box 30285,
                 Salt Lake City, UT 84130-0285
16724336       +EDI: WFNNB.COM Sep 14 2015 23:58:00      Comenity - Pier 1,     PO Box 182125,
                 Columbus, OH 43218-2125
16724338        EDI: FORD.COM Sep 14 2015 23:58:00      Ford Motor Credit,    National Bankruptcy Service Center,
                 PO Box 6275,   Dearborn, MI 48121
16724343       +E-mail/Text: bnc@nordstrom.com Sep 15 2015 00:02:49       Nordstrom,    PO Box 13589,
                 Scottsdale, AZ 85267-3589
16724345       +EDI: SEARS.COM Sep 14 2015 23:58:00      Sears,    PO Box 6283,    Sioux Falls, SD 57117-6283
16724348        EDI: RMSC.COM Sep 14 2015 23:58:00      Toys R Us,    PO Box 530938,    Atlanta, GA 30353-0938
16724349        EDI: USAA.COM Sep 14 2015 23:58:00      USAA Federal Savings Bank,     PO Box 33009,
                 San Antonio, TX 78265-3009
16724351       +EDI: WESTASSET.COM Sep 14 2015 23:58:00       West Asset Management,    2703 North US Highway 75,
                 Sherman, TX 75090-2567
                                                                                               TOTAL: 11

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 16, 2015                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 14, 2015 at the address(es) listed below:
              Daniel A. Hepner    dhepner@sww-legal.com, dhepner@ecf.epiqsystems.com
              Elizabeth M. Keenen    on behalf of Creditor   Cab West LLC elizabethkeenen@comcast.net
              Michael J. Watton    on behalf of Debtor Shanann Cathryn Watts jdrewicz@wattongroup.com
              Michael J. Watton    on behalf of Debtor Christopher Lee Watts jdrewicz@wattongroup.com
              Thomas A. Arany   on behalf of Debtor Shanann Cathryn Watts jdrewicz@wattongroup.com
              Thomas A. Arany   on behalf of Debtor Christopher Lee Watts jdrewicz@wattongroup.com
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                             Form ID: 177                Total Noticed: 24


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                            TOTAL: 7
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Form B18_7 (Official Form 18 / COB Form 177)(12/07)

                                    United States Bankruptcy Court
                                                  District of Colorado
                                                Case No. 15−16240−MER
                                                       Chapter 7

In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
    Christopher Lee Watts                                     Shanann Cathryn Watts
    aka(s), if any will be listed on the last page.           aka(s), if any will be listed on the last page.
    2825 Saratoga Trail                                       2825 Saratoga Trail
    Frederick, CO 80516                                       Frederick, CO 80516
Social Security No.:
   xxx−xx−3387                                              xxx−xx−2385
Employer's Tax I.D. No.:



                                           DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).



                                                            BY THE COURT

Dated: 9/14/15                                              s/ Michael E. Romero
                                                            United States Bankruptcy Judge



                   SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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FORM B18_7 continued (12/07)


                                 EXPLANATION OF BANKRUPTCY DISCHARGE
                                          IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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  Aliases Page
  Debtor aka(s):
  No Aliases for Debtor

  Joint Debtor aka(s):
  fka Shanann Cathryn King
